Case 17-10941-jkf
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    IN THE MATTER OF:                              :
                                                   :      CIVIL ACTION No. 18-2854
    MICHAEL K. PEARSON,                            :
                                                   :
                      Appellant,                   :      BANKRUPTCY No. 17-10941
                                                   :
      v.                                           :
                                                   :
    SHARMIL MCKEE                                  :
    also known as                                  :
    MCKEE LAW OFFICE                               :
                                                   :
                      Appellee.                    :

                                             ORDER

           AND NOW, this 29th day of March, 2019, following a March 25, 2019, oral argument on

the above-captioned bankruptcy appeal, it is ORDERED the appeal is DISMISSED for lack of

jurisdiction.1




1
  Creditor-Appellant Michael K. Pearson appeals from the June 19, 2018, Order of the United
States Bankruptcy Court for the Eastern District of Pennsylvania granting Debtor-Appellee
Sharmil McKee’s motion for contempt of a discharge injunction. The Order granted McKee’s
motion for contempt, but it left the issue of damages unresolved. The bankruptcy court informed
the parties that the damages issue could be resolved either by the parties or the court. At the March
25, 2019, oral argument on Pearson’s appeal, the parties explained the issue of whether and to
what extent damages should be assessed remains outstanding. Although the parties did not press
the issue of the Court’s appellate jurisdiction over this matter under 28 U.S.C. § 158(a), the Court
has “a duty to raise the issue of jurisdiction sua sponte.” In re Jeannette Corp., 832 F.2d 43, 45
(3d Cir. 1987).
        Section 158(a) provides that district courts of the United States have jurisdiction to hear
appeals “from final judgments, orders, and decrees . . . and . . . with leave of the court, from
interlocutory orders and decrees” of bankruptcy judges. Courts have taken a pragmatic approach
to the concept of finality when it comes to bankruptcy appeals and have reviewed discrete portions
of a bankruptcy action to avoid the waste of time and resources that might result from delaying
review. See In re Natale, 295 F.3d 375, 379 (3d Cir. 2002) (collecting cases where finality was
pragmatically interpreted). However, “even in bankruptcy appeals the concept of finality is not
open-ended. Orders that do not fully adjudicate a specific adversary proceeding or that require
further factual development are governed by the ordinary finality precepts of routine civil
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       It is further ORDERED McKee’s Motion to Strike (Document 11) is DISMISSED as

MOOT.




                                                             BY THE COURT:




                                                             /s/ Juan R. Sánchez
                                                             Juan R. Sánchez, C.J.




litigation.” In re Truong, 513 F.3d 91, 94 (3d Cir. 2008) (quoting United States v. Nicolet, Inc.,
857 F.2d 202, 206-07 (3d Cir. 1988)).
         Here, the appealed Order is not final for the purposes of conferring jurisdiction on this
Court. As noted, while the bankruptcy court granted McKee’s motion for contempt, it left open
the issue of damages, which neither the bankruptcy court nor the parties have resolved. The
appealed Order is thus not a final order. See In re U.S. Abatement Corp., 39 F.3d 563, 567 (5th
Cir. 1994) (“[A]bsent an assessment of sanctions, a bankruptcy court’s order holding a creditor in
civil contempt of a discharge injunction is not a “‘final judgment’” from which an appeal may be
taken.”); cf. In re Jeannette Corp., 832 F.2d at 46 (holding bankruptcy court’s order was not final
when the order found the debtor’s attorneys subject to sanctions but failed to determine the amount
or form of the penalty); In re Fox, 762 F.2d 54, 55 (7th Cir. 1985) (finding order not final when it
upholds liability but does not fix the amount of damages). Furthermore, the pragmatic concerns
the Third Circuit has relied on to review non-final orders are not present here. See In re Natale,
295 F.3d at 379 (noting Third Circuit has deemed final a bankruptcy judge’s order “expunging a
creditor’s claim” and “an order lifting the automatic stay subjecting real property to immediate
foreclosure”). Therefore, the appealed Order is not a final Order for the purposes of conferring
jurisdiction on this Court.
         Section 158(a) also provides the Court with jurisdiction to hear appeals from interlocutory
orders. However, for the Court to hear such appeals, the parties must first petition for and receive
leave of the Court. “Absent leave of court, [the district court] lack[s] jurisdiction over [an
interlocutory order’s] appeal.” Carroll v. Tutein, No. 07-30012, 2014 WL 1218904, at *2 (D.V.I.
2014) (alterations in original) (quoting In re Eagle, 373 B.R. 609,610 (B.A.P. 8th Cir. 2007)). As
the parties failed to request leave as required, the Court lacks jurisdiction to review the appealed
contempt order.
                                                 2
